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EXHIBIT A
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96°6VT‘S9S T6'TE6‘8vz$ L8°T80‘VTES L8°L8L'vS$ |00°V67‘6S7$ JINIL T1V 40 TWLOL
9T°90S‘9TS 00°0S 9T'90S‘9TS OT TEvs 00°SZ0‘9TS W.LOL
OT v9v‘OTS 00°0$ OT 79r‘OTS QT 9TVS OO'8r0‘OTS | TZ07 yueW/Aensga4
OS'O6T‘ES 00°0S OS'06T‘ES 00°STS OS'SZT‘ES Tz0z Avenues
0S'TS8‘7S 00°0$ OS'TS8°7S 00°0$ 0S'TS8‘7S 070Z Jequisdeq
08'€v9‘8t$ T6'TE6‘8Z$ TL'SLS‘L62$ TL'9SE'VSS |00°6TZ‘EnzS WLOL
Ov'SveE'TS 00°0T6‘8S Ov'SSZ‘OTS OV'87S‘ES JOO'LZZ‘9S OZOZ AOQWSAON
0S°€6S9'6S O07 Z6E'8ES 0L°S86‘LV$ O07 8TS 09°296‘LVS O07@0Z 4990190
00°760‘0TS 09°86€ ‘OVS 09°760‘0SS 09°@@S 00°0Zt‘0SS 0Z0Z Jaquiaydas
O07 7T8‘vS OT’80€‘07S O€ OZT‘SZS O€6S0‘TS |O00'T90‘vZS 0z0z Jsnsny
Ov'8T8‘OTS vE'TES‘EVS vl 6ve'vSs vLLS7$ 00°760‘vSS 0zoz Aine
O€ 086‘TTS L9'T6E'L6S L6°TLE‘60TS Lv'OLv‘6vS |0S°'T06‘6SS 0720z eunf
aouejeg Sulpuejsino Japl1o sasuadxy sasuadxy saa4 poiiag AjyUuOW
uoljesuadwio) Jaq 2g SBd{ [EOL

 

pled sasuadx ] »9 saa

 

 

 

 

 

 

 
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Case

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L8°L8L‘0S$ IW1LOL
06'801'ES sagsey) [lei Ajuolid
TLEVT'vs a8e1S0d
00°7T8‘TS saido20}0ud
OO'LLES saa4 UOnOW
97 8ET‘VS sadieyy ssaidxq jeuapay
00°802'Tr$ 34 Surly
junowy uoljdiosag

 

 

 

L8°L8L‘0S$ WLOL
OT OTs Meniqa4
0O'STS Agenuer
00°0S Jaquiaseq
0v'87S‘ES Jaquisron
O7'8TS 4990190
0977S Jaquuaydas
O€'6S0‘TS isnsny
vl LS7%$ Aine
Lv'OLv‘6S oun
qunowy yuOW

 

 

 

 

00°76z‘6Sz$ 6°66S WLOL
OS'vZZs ST xel vend
OO'ETE‘ZS S sulpoday een
00°62r‘EES G8L a7e3sq |eay zeng
OS'PSZ‘9S OVI sJOUPIJD oena

yim suoiediunwwos

pue s8unaa\
0S°662'SS £6 suayeW pieog 8218

pue aduUeWaA0N ajzesodi07)
00°976'LSS LYVET syesjuop/sasea] sag

JO uoNdafay 9g UOIWdWNssy
00°2T6‘7S v9 SIOUPAID JO BUND 6IN8
00°Z60‘TS vz uonesiy 8Ia
0S°260‘97S eg suoneniddy OTE

quawAojdw4/ae4
0S'TZ6S TZ suoiyafqo/uonesjsiuiwpy vIng

Suue])
00'r6r‘98S 3°90 uonesjsiuiupy ase) erg
Os'T6r‘SS OT suoljesadQ ssauisng cing
O0'PLL‘67S 7s9 uolsodsig jessy TING
Poiig JeE30L) SANOH jeIOL ysejy aseud 9poO) 9SeUd

apo) aseud Aq jeOL
00°62 ‘6S7$ 6°66S STV.LOL

O0'7rvZ‘0TS v6 ayeysy jeay} = ayein0ssw}Q0'097$ eipUueXa|y ‘SPOoM
00'09E‘EETS 6767 OdIy 4auued{00'SSt$ yyeqesi|3 ‘uazU19 UO),
OO'VITS 90 ayeysyjeay} = jeajesed|OO'O6TS lay ‘asnoyauo}s
0S'69TS £0 quawAojdw3/soqe}| jasunod Ss 00°S9SS aAays ‘O}OzZze|ed
OO'LEvsS €? Ody} se8aje4ed]OO'O6TS eyudg ‘SJaMOd
00°80T‘ZZ$ 70S ayeysy jeay Jauyed|00'0rSS Yaqoy ‘uejon
00'v66'6S 9°¢S Ody] jedajeseg]OO'O6TS Jouel “PjSWapOH!N
OO'EETS £0 Ayadosg jenqayjaqul] ed ajeseg|Q0'06TS Ajsaquuty ‘Bul|geln
00°€0r‘TS €7 Ayadodg }eNq9]/21u] Jauued|00'019S 7109S ‘19]]2)
00'799'9S CIT Ody Jauned|00'S6SS uaydays ‘mo19
OS°Z6T‘9SS SE?T diy 4aued|00'SSrS auuezoy ‘eqUNID
00°SZ7¢$ SO xe] Jauued|00'0SSS ueas yoo)
05°209$ ST ayesodioz) 92e190SsV¥|00'SO7S Aju “soqued
0S°26S‘ZTS 617 aje10d10) Jauued|00'SLS$ uasoy ‘SI|nipuy
paijig JeIOL SINOH [eOL juawyedag op :ayey sSJEUOISSIJOld

 

 

 

 

 

 

 

 

 

AYODILVD GNV ALVG Ad AYVINIAINS JSNAdX3 IWLOL

Jadaayauiy Aq je}01

 

*AYVINIAINS 344 1WLOL

 
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00°609‘7S ov SJoe pseog pue 8O1d
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uoidafay 9g uoNdunssy
Lv’ OLb‘6r$ WLOL OS°9ETS £0 SIOUPIID JO Buljoaj/j 6LNG
GCOIT'TS ade}sOd 0z0z eunr OS'8TES L£0 voles] sTya
sasue . ‘ .
06'80T'Es yD acor ew 0S°6727'@S 6'v suoljeoddy 9Tya
[lEIA) AsO, quawAo|dwy/ae4
- saguey) 5 0S°668'EvS vTOT UONPAISIUIWIPY ase etd
cELEO'YS ssaidxq Jeiapay 020¢ eunt
00°802‘TVS 3a} Sully OcOc eunf 00°828‘TS VE suol}esadQ sseuisng Crd
LNNOWY NOILdIYDS3IG aLvad pejiig J2E30L) SAnoH jeyoOL yse]l aseud apo) aseud
AYVININNS 3SN3dX3 apo) aseud Aq je}0L
0S'T06‘6S$ vSET STVLOL
00°796$ Le aye}sq jeoy 97e190SsV¥100'097S eipuexaly ‘SpooM
0S 6TL‘L7S £09 Odd JaUuued|00 SSS yyeqesi|y ‘uaz}y UA
OO'LEVS EC diy jesajesed|O0'06TS eyuog ‘sIaMOod
00°90r‘TS VL diy jedajeseg|00'06TS jouer ‘P{SWapPOyIN
00°8ES c0 Ayiadojd }en}91/2}U] jedaje4sed|O00'06TS Ajsaquuly ‘Suljgqain
00°SO0ES 0 Ayiadoijg Jen}a]/2}U] Jauued|00'0T9S 09S “13]|9>
OS'O€T‘TS 6T Odlu JIUUEd |00°S6SS uaydays ‘Mos
OO'ETT‘7ZS 9°87 Ddly JaUed|O00'SSVS auuezoy ‘e}UNID
0S'0vS TO ayesoduoy a7e1I90ssv|00°SOvS Ajtwiy ‘40juUe7)
00°0SZ‘SS OT ayesodio) Jauued|Q0'SLSS uas07 ‘SI|NIpuy
pajjig jeqoL SINOH jeOL quawyedag oa :37eyY :S|EUOISSIJOld
Jadaayauy Aq je10L

 

 

“AYVIAIAINS 434 INNS

 
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0S'T06‘6S$ v'SET WLOL
0S°681'TS L7 9723S] |22y cend
00°902"ES 6L SIOUPas OEnd

 

 

 

YUM suo!zedIUNWWOZ
pue ssulaal|

 

 

 
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0S°S00‘TS TE 91e4Sq [ey cen
00°6T8S ST ss0Upasy Oey
YUM suoljedluNWWO?
pue ssuljaay]
00°S8T‘7S BE ssaye| pueog 8c
pue ddURUI3AOD ayesodioy
00°6ET‘6S 9°EZ sy9e1}U07/saseaq Ged
Jo uolpafay »g uoNduinssy
0S°SLL‘%S T'9 SIOYUPIID JO Buljaa|/| 61d
00°78TS v0 uolje3i}) ST
0S°88S‘v$ 7 suoljeoddy 9Tyd
quawAojdw3y/ae4
vL°LSZ$ W1LOL 00 VLL'S7ZS TOL uoljeJjsluIWpY asea €ryd
saareu5 00°7z9S TT suoljesadQ ssauisng 7rd
vL'9Ls ssaidxq jesapay oz02 ‘Aine
OO'T8TS 3a4 UO!OW ozoz ‘Aint 00°7ZL'9$ GT uolysodsiq Jessy TI
ANNOWY | NOILdIydS3q aLva pajiig 2301) sanopy jeyoL yse) aseyd apo aseud
AYVINIAINS 3SN3dX3 apo) ase Aq [e101
00°Z60‘vS$ 9°LET STVLOL
00°00€‘TS S 9}e}sq |eay] = ayeln0ssy}00'097S eipuexaly ‘spooMm
OO'TTT‘O7S coy Ddly Jauyed|00'Ssv$ yyeqesi|y ‘uazi4 uO,
0S°69TS €'0 quawAojdwiy/siogey| jasunod *4S}00°S9SS ojozzejed
00°L76‘SS ETE diy] — |eBajesed|OO"O6TS youer ‘jSWapoyIN
00°8ES 70 Ayadoid jenyajjayuj] = je3ajeseg|OO"O6TS Ajsaquily ‘Bul|qain
00'rrzs v0 Ayadodg jenyoajjayu| Jauyed|00'0T9S Hoos “49/9
0S°SESS 6'0 Ddlu Jauyed|00°S6SS uaydays ‘Mos
00°7€6‘77S v'0s Ddly Jaued|00'SSt$ auuezoy ‘eyUNID
00°SSS T'0 xe] Jauyed|00'0SSS ueas ‘005
00°092‘7%S$ 8'v ajesodi07 Jauyed|00°SZS$ uas07 ‘SINApUY
payjig eo, SANOH [LOL quawpyedag ay :37ey :S]EUOISSaJOIdg
Jadaayauy Aq [e101

 

 

“AYVINIAINS 3354 AINE

 
 

$227.50
$54,092.00

 

0.5
137.6

 

Reporting
TOTAL

 

 

BK33

 

 

 

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00°T90‘vz$ 9°0S W.LOL
00°SSS T sulyoday cond
OS'OTr‘TS Te S4OUPasD oEend
UUM SUO!TeIIUNWWWO?
pue ssuljaay
OO'STT‘OTS TZ $y9e1]U0}/saseay] Sond
Jo uonvafay 9g UoduNssy
00'T6S 70 uolyesii7 8TNd
OO'TZT‘ES GL suoieaiddy oLNa
quawAojdwy/ae4
OS'SLES T suolafqg/uolessiuiupy vorna
O€°6S0‘TS TWLOL swie|D
0¢'998S a3e}s0q 0202 ‘sn3ny 05°208'€S £8 Uo! eJys!UlWpY ase) toa Te]
sasueuy / ‘Lp : suoijeiado ssauisn q
OT'2TS ssaudx volapoy 0202 ‘isn3ny Os'dves et o . o
OO'T8TS 994 UDO" 020z ‘Isn3ny 00°8E6’ES T'8 uolsodsiq Jessy TING
LNNOWYV NOILdIdDS3G aiva Paiiid (E301) SunoH jeyoL SE] aseld apo) aseud
AYVINIAINS JSN3dxX4 apod aseud Aq e}0L1
00°T90‘tz$ 9°vS STVLOL
00°98ZS TT 93e4Sq |baY ayeis0ssy100'097S eipuexaly ‘spoo
00°STO‘STS €€ diy Jauued|00°SSt$ yyeqesi|y ‘Uazy UO,
00°092$ v Ody jedajesed|00'06TS yauef ‘SWapOyIN
00°L7vS £0 Aysadoid [2N399)/91U] Jauued|00'0T9S 09s ‘13]|2>
00°LSES 9°0 Ddly Jauned|00°S6SS uaydais ‘mold
OS'8ZL'SS Ll Odly Jaued|00'SSS auUuezoY ‘eJUNID
OS'LEv'TS GC a}e10d10) JauNed|00°SZSS uaso7 ‘sI|Nspuy
pallid je10L SANOH [e}OL juawpyedag ap :37ey :SJEUOISSAJO‘d
Jadaayauiy Aq je}0L

 

 

“AYVINIAINS 444d LSNONV

 
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0S°S0SS 60 sioye|| pseog sold

pue adUueUJaAOD a}es0ds07
00°SZS‘07¢S £Sv spesjuo7/sasea] Sod

Jo uolpeafay gy uOolWduNnssy
0S'00S$ TT uolesii] gTyd
00°L7S‘TS ve suoijeoiddy oT

quawAojdwy/ae4
00°@8TS v0 suolelqo/uolzesjsiujwpy vInd

sue)
09°2@Z$ [e301 0S'798S 6T UO!HEJSIULUPY ase) etd
0s‘0TS aBeisog| 0z0z ‘uaquiaidas OO'8ES ae) suoljeiadQ ssauisng cryd
OL'zt$ ssoidey wiope, 0207 “aquiaidas 0S'°80€'8S LT uolysodsiq jessy TINd
INNOWY | NolLalNos3a a1va Peiig J2E30L) SANOH je}0] uoldiasaq 4se 1 apo) sel

AYVINININS 3SN3dX3 Bpo) aseud Aq je101
00°0Zb‘0SS 9°ETT SIVLOL
00°@80‘vS LST 9}l4sq |eoY ayelsossy|00'097S eJPURXa]|Y ‘SPOOM
0S°97S'97S €'°8S Odly Jauued|00°SSS yyeqesi|y ‘uazyy uoA
OO'7TTS 9°0 97l4sq [e9Y jesajesed|O0'O6TS 1449] ‘OBSNOYsUOIS
00°990‘STS 6°LC 9}e4sq |e9y Jauued|00'OVSS Yaqoy ‘uejon
00°9St$ vc diy jesajesed|O0'O6TS jouer ‘jSWapPOyIN
00'8ES 70 Ayadoug jenyoa}/9}u| jesajesed|O0'06TS Ajsequuty ‘Suljgain
0S'6r2'TS TC Odlu Jauued|00°S6SS uaydays ‘Mos
OO'TT6‘TS cv Odly Jaued|O0'SStS auuezoy ‘e}UNI
00°29SS VT a}es0dso5 JaUNed|00°SOS Ajjwiq ‘“soquea
00°09¢$ 80 a}e40d4105 Jauued|00'SZSS udJo7 ‘sIjnipuy
poyig jeIoL SANOY [2101 qUuaWyeEdag oy :97ey *SJEUOISSaJOJd
Jadaayauiy Aq je}o1

 

 

“AUVINIAINS 434 YASINALdAS

 
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00°0Zb‘0SS 9'EIT WLOL

00'0T6S z sulwoday ee
00°8v6‘9TS G'6E ajejsq jeay zen
00'T6S 70 ssOUpasD oend

 

 

 

YUM suoleoiuNWWO;
pue ssuljaa|

 

 

 
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00°826‘Ltv$ L°SOT WLOL
OS’ Lvs 60 sulmoday vend
00°078‘ETS 8°7E 93e4sq jeay zen
00°208‘ETS 9°0€ sye1]U0D/sasea] Sod

Jo uolpalay 7g uoIduNssy
00°792‘bS 9°6 suoljeaiddy 9Td

quawAo|dw4/ae4
OS ZECS ‘0 suolyal[qo/uoljesjsiuiupy vIn

suey)
0S°796'7S T'S uoljeljsiulwipy aseD ery
0z'8T$ WLOL 0S°ZT0'ZS Ge suol}eiadQ ssauisng 7rd
O@'8TS aeysod| O70 ‘“42q010 00°LEv‘OTS LUZ uolysodsiq Jessy TINd
innowy | NolLaosaa ava pajiid JE3OL} sunoy je) uol}diiasaq se) apo yseL

AYVININNS JSN3AdX4 apo) aseud Aq je}0L
0S°296‘Lt$ L£°SOT STVLOL
00'VT9‘ES 6'ET a}e3sj 22y] = a}e190ssW}00'097S espuexaly ‘SpooMm
OS 'vvE'9ZS 62S diy Jauyed|00'SSvs yyeqesi|q ‘U9Zz}19 UOA
00°978‘TTS 612 aye}s] jeay Jauyed|00'0vS$ Haqoy ‘uejON
OOZES BT Odlu jedajesed|00'06TS JOUeL ‘I4SWISPOHIN
OS OTS £0 Ayadoig jenyoayja}u| Jauyed|00'S6SS ods ‘13]/9>
OO'LEL‘7S V7 Ddly Jauyed|00'S6SS uaydays ‘Mos
00'SSt$ T Odlu Jaued|00'Ssvs auUezoyY ‘eUNID
00°077S$ v0 Xe] Jauyed|00'0SS$ ueas ‘005
OS'ZT0'@S Ge ajesodso> Jauued|00°SZS$ uas07 ‘SINpuy
poyjig Je}OL SANOH [eVOL quawyedag oyu :0]ey -S/EUOISSOjOJd
Jadaayauiy Aq jeoL

 

 

“AYVINIAINS 444 YAGOLIO

 
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00°ZZZ‘9$ Lot WLOL
00°9T7ZS v0 9}e4Sq Je9Y cond
0S*60r$ 60 syeijuo)/saseay] Sag

Jo uolpafay 9g uolduinssy
00°6S0‘7S LY suoleoddy 9Tyd

quawAojdwy/aa4

. . fi

ov'ezs‘es W1OL OS'9ETS €'0 suolyalqQ/uolesysiuiupy vIn

Sue]
Ov 9TL'TS a8e4sOd| OZOZ ‘J@qWaAON 0S°L8S°ES LL uolzes}sIulLUpYy ase) €TNd
00°7T8'TS $31d090}04d| OZOZ ‘JEquaAoNn OS’8TES £0 uolusodsiq jessy TDN
INNOWYV | NOlLdluDS3aa 31va pajiia }e301| sanoy [e301 uondioseg 4seL apoD ASEL

AYWIAIAINS JSN3dxX3 @Pod aseud Aq je301
00°L22'9$ Lt STVLOL
0S°8ZL'SS LCT diy Jauued|00'SS7S yrogesi|y ‘uazyy uo,
00°9T7S v'0 9}e4Sq |boY Jauved|00'0vSS Yaqoy ‘UejON
00°LSS £0 Odlu jedajeseg|OO'O6TS youef ‘DySWapPOyIN
00°ZSES 970 Odlu Jauued|00°S6SS uaydays ‘mol
OS’8TES L0 Odlu Jaued|00'SSS auuezoy ‘ejUNI
pajiig [eIOL SANOH JeIOL quawyedag a sayey {SJEUOISSIJO1d
Jadaayauny Aq je101

 

 

“AYVINIAINS 344 YASINIAON

 
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os'TS8‘7$ ‘9 WLOL
00°62TS v0 $y9e1]U0D/saseay aT:

Jo uoljafay 7g UONdunssy
OS’8ESS ET suoljzeoi|ddy QT

quawAo|dwy/ae4
O0'V8T‘7$ 87 UONJEIISIUILUPY ase} etd
poiiid |2301) sanoH jeioL uoldisosaq yseL po) Sel

S3SN3dX3 ON @pod aseud Aq e301
os‘TSss‘zs = |S°9 SIVLOL

00°99€‘7S cS Odlu Jauued|00'SSrvs yyeqesi|y ‘uaz}1q UOA
00°9LS v0 Odlu| jedajesed|OO'O6TS youes ‘PjSwapoyiN
0S°60tS 60 diy JaWed|00'SSVS UUZOY ‘E}UNID
pajjig je301} sanoyyjezol| juawyedag ay :93ey {SJEUOISSAJO1d

 

 

Jadaayauiy Aq je}oL

 

“AYVINIAINS 344 YASINADIG

 
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OS'SLT‘ES 69 WLOL
00°STS WLOL 00°€00‘ES 9°9 uolzes}slulWipy ased €TNg
00°STS aaj UONOW TZ0z Asenuer OS'ZZTS €0 suoljesadQ ssauisng ZING
aIj'g jeyo sino e130 uol diosa se 3po se
INNOWY | NOILdIydS3aa 31va Paine Ered ae 4 os peo ph
AYVINIAINS JSN3dxX3 apo) aseyd Aq je}0)

OS'SLT‘ES 69 SIVLOL
00°99¢'Z$ Zs dl Jauued|00'SSt$ yyeqgesijy ‘uazy uo,
00°2€9S vt Ddly Jaued|00'SSt$ auUezoY ‘eJUNID
OS°ZZTS €'0 aj}e10d4105 JaULed|00'SZSS uaio7 ‘sijnipuy
payjig [e301 SANOH [e}OL quawedag oyu :ajey :SJEUOISSAJO1d

Jadaayauy Aq je10L

 

 

“AUVINIAINS 444 AYVWANVE

 
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00°8170‘0TS 6'vZ TWLOL
OS'VZLS GT xey vend
00'ELZS 9°0 sulioday een
00°8ZZ$ OT SsOUpasD Oey

YUM SUOIeDIUNWIWO

pue s8ulaay|
OS'9ETS €0 $ye4]U0D/saseaq G7

$0 uolpalay 99 UOlduNssy
OSLSZ'LS 6°6T suoljeoddy 9Ta

quawAojdw4/ae4
9T9Tt$ WLOL 0S°60¢S 60 uoljes}siulupy asep ery
OT 9TPS adeysod| T7Z0z ‘Asenuqa4 00°6TS TO suol}esadQ ssauisng 7rd
INNOWV| NOlLdIydS3a aLva pajiig [2301] sunoH jeyOL ySeL aseud apo) aseuyd

AYVWINNS JSNAdX43 apo aseud Aq je}0]
00°8v0‘0TS 6'vZ SIVLOL
OS'EVT‘ZS LST Ody Jauued!00'SSt$ yyeqesi|y ‘uaz}13 UO,
00'0S6$ S diy] — jedaje4ed/OO'O6TS youer ‘hSWapOxIN
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